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              6 SUTTER; TONY HOBSON; JOAN ODOM,
                M.D.
              7

              8                               UNITED STATES DISTRICT COURT

              9              EASTERN DISTRICT OF CALIFORNIA, SACRAMENTO DIVISION

             10

             11 Estate of BERTRAM HISCOCK, deceased, by            Case No. 2:17-cv-02706-JAM-GGH
                and through VINCENT HISCOCK, as
             12 Administrator; SHERRICK HISCOCK,

             13                 Plaintiffs,                        STIPULATION FOR VOLUNTARY
                                                                   DISMISSAL WITH PREJUDICE OF
             14         v.                                         DEFENDANT JOAN ODOM; ORDER

             15 COUNTY OF YUBA; COUNTY OF
                SUTTER; SHERIFF-CORONER STEVEN L.
             16 DURFOR, in his individual and official
                capacities; TONY HOBSON, in his individual
             17 and official capacities; JOAN ODOM, M.D.,
                in her individual capacity and DOES 1-5,
             18
                                Defendants.
             19

             20

             21         Under Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs Estate of Bertram
             22 Hiscock, deceased, by and through Vincent Hiscock, as administrator and Sherrick Hiscock, and

             23 Defendants County of Yuba, County of Sutter, Sheriff-Coroner Steven L. Durfor, Tony Hobson,

             24 and Joan Odom, M.D., stipulate to the voluntary dismissal with prejudice of Defendant Dr. Joan

             25 Odom from this action.

             26         Each party is to bear its own costs, attorney’s fees, and expenses and waives any claim for
             27 such costs, fees, and expenses.

             28         IT IS SO STIPULATED.

                    STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE OF DEFENDANT JOAN ODOM AND
14925736.1                                              ORDER
                  Case 2:17-cv-02706-JAM-GGH Document 32 Filed 10/09/18 Page 2 of 2


              1 DATED: October 5, 2018                              HANSON BRIDGETT LLP

              2
                                                              By:          /s/ Samantha Wolff**
              3
                                                                    PAUL B. MELLO
              4                                                     SAMANTHA D. WOLFF
                                                                    LAUREL E. O'CONNOR
              5                                                     Attorneys for Defendants COUNTY OF
                                                                    SUTTER; TONY HOBSON; JOAN ODOM,
              6
                                                                    M.D.
              7
                  DATED: October 5, 2018                            HADSELL STORMER & RENICK LLP
              8

              9                                               By:          /s/ Lori Rifkin
             10                                                     LORI RIFKIN
                                                                    Attorney for Plaintiffs Estate of BERTRAM
             11                                                     HISCOCK, deceased, by and through VINCENT
                                                                    HISCOCK, as Administrator; SHERRICK
             12                                                     HISCOCK
             13
                  DATED: October 5, 2018                            PORTER SCOTT
             14

             15                                               By:          /s/ Carl Fessenden
                                                                    CARL L. FESSENDEN
             16
                                                                    Attorney for Defendants COUNTY OF YUBA;
             17                                                     SHERIFF-CORONER STEVEN L. DURFOR

             18                                      **ECF ATTESTATION
             19          I, Samantha Wolff, am the ECF User whose ID and password are being used to file this
             20 document. I attest that concurrence in the filing of this document has been obtained from the

             21 signatories.

             22

             23          PURSUANT TO STIPULATION, IT IS SO ORDERED. Defendant Joan Odom is
             24 dismissed with prejudice from this lawsuit.

             25          IT IS SO ORDERED.
             26   Dated: October 5, 2018                       /s/ John A. Mendez
                                                               THE HONORABLE JOHN A. MENDEZ
             27
                                                               UNITED STATES DISTRICT COURT JUDGE
             28
                                                                    -2-
                    STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE OF DEFENDANT JOAN ODOM AND
14925736.1                                         PROPOSED ORDER
